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                           UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS

ERIC BERNARD (#R-25398), a/k/a
TERRELL KING,

                         Plaintiff,                        No. 20-cv-50412

v.
                                                           Hon. Judge Iain D. Johnston
ILLINOIS DEPARTMENT OF
CORRECTIONS, and WEXFORD                                   Magistrate Judge Margaret J. Schneider
HEALTH SOURCES, INC.

                         Defendants.

DEFENDANT WEXFORD’S RESPONSE TO PLAINTIFF’S MOTION FOR ENTRY OF
   A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        NOW COMES Defendant, WEXFORD HEALTH SOURCES, INC., by its attorneys,

CASSIDAY SCHADE LLP, and in Opposition to Plaintiff’s Motion for a Temporary Restraining

Order and Preliminary Injunction, states as follows:

                                                INTRODUCTION

        Plaintiff brings this action pursuant to the Americans with Disabilities Act (“ADA”) and

Rehabilitation Act (“RA”)1, through which he alleges a multitude of deficiencies in his care and

treatment as a disabled person while incarcerated in the Illinois Department of Corrections

(“IDOC”), namely at the Dixon Correctional Center in Dixon, IL. [ECF #77]. In particular, he

brings a motion for injunctive relief, captioned as seeking both a temporary restraining order

(“TRO”) and preliminary injunction. See generally, [ECF #145]. This motion broadly seeks for

“toileting accommodations[,]” as it is alleged Plaintiff is incontinent. [ECF #145, p. 2].

        As an initial matter, the motion appears to be directly solely toward the IDOC, as opposed to

Wexford, as the demands made throughout are targeted solely towards that defendant. See
1
 The Rehabilitation Act claim against Wexford has since been voluntarily dismissed, and only an ADA claim
against Wexford remains. See [ECF #151; 153].
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generally, [ECF #145]. There are only a few subtle references to Wexford at various points in the

motion, which serve to downplay Wexford’s potential liability regarding any relief requested in the

motion. See e.g., [Id., p. 10 (“Moreover, Wexford nurses Cecilia Grossman and Jacqueline

Rodriguez have said that they would be willing to help Mr. Bernard in transit and off-site, but

Defendants has [sic] not assigned them or any other nurse to this task.”)]; [Id., p. 12 (“IDOC is also

liable for Wexford’s noncompliance with the ADA”.).].

       Notwithstanding these observations, Wexford further responds in opposition to Plaintiff’s

motion, and argues as follows:

                                                      LAW

       The standard for issuing a temporary restraining order is identical to that governing
       the issuance of a preliminary injunction. A court’s determination of whether to issue
       a preliminary injunction or temporary restraining order involves a two-step inquiry,
       with a threshold phase and a balancing phase. At the threshold phase, the moving
       party must show: (1) without the requested relief, he will suffer irreparable harm
       during the pendency of his action; (2) traditional legal remedies would be
       inadequate; and (3) he has some likelihood of success on the merits. If the movant
       satisfies these requirements, the court proceeds to the balancing analysis to
       determine whether the balance of harms favors the moving party or whether the
       harm to other parties or the public sufficiently outweighs the movant’s interests.

       Mays v. Dart, 453 F. Supp. 3d 1074, 1087, 2020 U.S. Dist. LEXIS 62326, *13-14, 2020 WL

1812381 (N.D. Ill. April 9, 2020) (internal citations omitted). Further, when a motion seeks

affirmative conduct be performed, it is considered a “mandatory” injunction, and viewed at an even

higher standard of review—these are sparingly issued. Money v. Pritzker, 453 F. Supp. 3d 1103,

1117, 2020 U.S. Dist. LEXIS 63599, *21, 2020 WL 1820660 (N.D. Ill. April 10, 2020). To the

extent the preliminary injunctive relief seeks the same relief sought in the pleadings, this sort of

relief is further disfavored still. Money, 453 F. Supp. 3d 1103, 1117, citing W.A. Mack, Inc. v.

General Motors Corp., 260 F.2d 886, 890 (7th Cir. 1958) “A preliminary injunction does not issue

which gives to a plaintiff the actual advantage which would be obtained in a final decree.”).


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                                                ARGUMENT

       I.      Plaintiff Has Not Demonstrated A Likelihood of Success on the Merits as
               Applied to Wexford.

       In his Motion, Plaintiff argues that he is likely to succeed on his claim under Title II of the

ADA. See [ECF #145, p. 11-15]. However, assuming arguendo that Plaintiff has any arguments

under Title II as applied to the IDOC, this cannot be implicitly extended to Wexford. This Court has

already found that Wexford is not a proper defendant under Title II of the ADA and has dismissed

that claim as applied to Wexford. [ECF #114].

       Nowhere in his Motion for a Preliminary Injunction/Temporary Restraining Order does

Plaintiff identify any given service, program, or activity Wexford has supposedly denied Plaintiff,

such that Title III claim against Wexford might reasonably be read into this Motion. On the

contrary, Plaintiff’s own allegations proffer that Wexford staff has volunteered to assist Plaintiff in

the ways he seeks, but he maintains that the IDOC has not let them. See [ECF #145, p. 10

(“Moreover, Wexford nurses Cecilia Grossman and Jacqueline Rodriguez have said that they would

be willing to help Mr. Bernard in transit and off-site, but [the IDOC] has not assigned them or any

other nurse to this task.”)]. This critically undercuts any implied ADA claim applicable to Wexford.

Plaintiff has not demonstrated any likelihood of success on the merits in his Motion.

       II.     Plaintiff Has An Adequate Remedy at Law and Will Not Suffer Irreparable
               Harm if his Motion is Denied.

       To the extent that Plaintiff’s motion is denied, he has an adequate remedy at law in the form

of money damages to compensate for any pain and suffering he might experience. In order to grant

the relief plaintiff seeks here the “injunction would require an affirmative act by the defendant,” and

thus would be “a mandatory preliminary injunction.” Cunningham v. Cross, No. 15-CV-0260-MJR-

SCW, 2016 WL 93511, at *2 (S.D. Ill. Jan. 8, 2016) (citing Graham v. Med. Mut. of Ohio, 130 F.3d

293, 295 (7th Cir. 1997)). Mandatory injunctions are “‘sparingly issued,’ since they require the

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court to command a defendant to take a particular action,” and since they often provide the relief

sought in a final judgment.2 Cunningham, 2016 WL 93511, at *2 (quoting Graham, 130 F.3d at

295); see also W.A. Mack, Inc. v. Gen. Motors Corp., 260 F.2d 886, 890 (7th Cir. 1958) (“A

preliminary injunction does not issue which gives to a plaintiff the actual advantage which would be

obtained in a final decree.”).

         Plaintiff offers no explanation for how he would suffer irreparable harm if he does not

receive “toileting accommodations”. Instead, he cites prior delays in attending appointments,

concludes there will certainly be future delays on unspecified dates, and further concludes that these

future delays must, in some way, lead to an unknown yet irreparable harm. [ECF #145, p. 16-17].

Plaintiff’s motion identifies no future appointments he anticipates being delayed nor does he

provide what harm specific harm he anticipates befalling him. Instead he alleges that he is unable to

attend appointments and “[t]he consequences of missing doctors’ appointments and court hearings

cannot be undone.” [ECF #145, p. 17]. “Raw ‘allegations of possible future injury’ are not enough.”

Geske v. PNY Techs., Inc., 503 F. Supp. 3d 687, 703, 2020 U.S. Dist. LEXIS 223735, *30, 2020

WL 7042887 (N.D. Ill. Nov. 30, 2020), citing Hesse v. Godiva Chocolatier, Inc., 463 F. Supp. 3d

453, 465 (S.D.N.Y. 2020). It remains unclear exactly what these consequences are, thus, Plaintiff

cannot show that he lacks an adequate remedy at law and has failed to put forth any evidence that he

will be irreparably harmed if his motion is denied.

         III.     Wexford Will Be Significantly Harmed if Plaintiff’s Motion is Granted.

         Plaintiff’s motion will impose significant harm on Wexford by forcing them to act in a

particular way where they have no authority to do so. Here, Plaintiff seeks a mandatory

preliminary injunction requiring the Defendants to provide him with certain medical treatment.


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 Plaintiff’s Complaint makes several similar allegations and appears to request the same relief sought in his Motion.
See [ECF #77, p. 20 (requesting “Personal hygiene care while outside of Dixon, including court appearances and
doctor’s visits[.]”)].
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Kartman v. State Farm Mut. Auto. Ins. Co., 634 F.3d 883, 892 (7th Cir. 2011); Graham v. Med.

Mut. Of Ohio, 130 F.3d 293, 295 (7th Cir. 1997). The Seventh Circuit has held that a mandatory

injunction imposes “significant burdens” on a defendant and the intrusiveness of the proposed

act, as well as the difficulties that may be encountered in supervising compliance with the

potential injunction, should be carefully considered. Kartman, 634 F.3d at 892. In the context of

a mandatory injunction, the third part of the preliminary injunction test—the balance of the

hardships—takes on heightened importance. Id.

        According to Plaintiff’s own Motion, Wexford nurses have already attempted to provide

Plaintiff the relief he seeks, but, according to the Motion, they are unable to usurp IDOC

decisions regarding prison escort. [ECF #145, p. 10]. Granting the Motion for a Preliminary

Injunction/TRO as applied to Wexford would require Wexford to exceed their authority and

ability to act, or risk contempt of court. Moreover, this Court would have to continuously (and

without end) monitor Plaintiff’s treatment and make its own judgments about whether Plaintiff’s

accommodations and treatment are appropriate. Thus, the relief that Plaintiff has requested

would cause Wexford significant and on-going harm.

                                        CONCLUSION

       Plaintiff’s Motion for Entry of a Temporary Restraining Order and Preliminary

Injunction fails to meet preliminary injunction standards, as he has failed to provide any

evidence supporting a likelihood of success on the merits, has not shown why ordinary relief is

insufficient, and the burden on the Defense, this Court, and the public at large outweighs

Plaintiff’s request. Critically, Plaintiff’s Motion does not appear to be directed at Wexford, but

instead at the co-defendant IDOC. However, Plaintiff’s allegations that do discuss Wexford, to

the extent they are made, support Wexford’s posture against imposing a preliminary

injunction/TRO.

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        WHEREFORE, WEXFORD HEALTH SOURCES, INC. respectfully requests this

Honorable Court enter an Order: (1) Denying Plaintiff’s Motion for Entry of a Temporary

Restraining Order and Preliminary Injunction; and (2) for any other relied deemed equitable and

just.


                                           Respectfully submitted,

                                           CASSIDAY SCHADE LLP

                                           By: /s/ Joseph M. Ranvestel
                                           One of the Attorneys for Defendant WEXFORD
                                           HEALTH SOURCES, INC.


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2023, I electronically filed the foregoing document

and associated documents with the clerk of the court for Northern District of Illinois, using the

electronic case filing system of the court. The electronic case filing system sent a “Notice of E-

Filing” to the attorneys of record in this case.


                                               /s/ Joseph M. Ranvestel




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